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 7

 8                           UNITED STATES DISTRICT COURT

 9               FOR THE CENTRAL DISTRICT OF CALIFORNIA,

10                                 EASTERN DIVISION

11
     ST. PAUL FIRE AND MARINE                CASE NO.: 5:21-cv-1780
12   INSURANCE COMPANY, a
     Connecticut corporation,
13                                           COMPLAINT FOR:
                Plaintiff,
14        v.                                 (1) DECLARATORY RELIEF:
                                             PRIMARY D&O INSURER HAS NO
15   MORNINGSIDE COMMUNITY                   DUTY TO PAY THE UNDERLYING
     ASSOCIATION, a California mutual        RESTITUTION AWARDS WHICH
16   benefit corporation; FEDERAL            DIRECT THE HOMEOWNERS’
     INSURANCE COMPANY, a New                ASSOCIATION TO RETURN FEES
17   Jersey corporation,                     IT IMPROPERLY COLLECTED
                                             AFTER A VOID ELECTION;
18              Defendants.
                                             (2) DECLARATORY RELIEF:
19                                           EXCESS INSURER HAS NO DUTY
                                             TO PAY THE UNDERLYING
20                                           RESTITUTION AWARDS WHICH
                                             DIRECT THE HOMEOWNERS’
21                                           ASSOCIATION TO RETURN FEES
                                             IT IMPROPERLY COLLECTED
22                                           AFTER A VOID ELECTION
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                             COMPLAINT FOR DECLARATORY RELIEF
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 1         Plaintiff, St. Paul Fire and Marine Insurance Company (“St. Paul”), alleges as
 2   follows:
 3                                GENERAL ALLEGATIONS
 4         Jurisdiction and Venue
 5         1. This Court has original subject matter jurisdiction under 28 U.S.C.
 6   § 1332(a)(1) in that it is a civil action between citizens of different states in which the
 7   matter in controversy exceeds seventy-five thousand dollars, exclusive of costs and
 8   interest. Diversity exists between the plaintiff St. Paul, a Connecticut corporation
 9   with its principal place of business and main administrative office in Hartford,
10   Connecticut, and each defendant: Morningside Community Association is a California
11   mutual benefit corporation, with its principal place of business and domicile in the
12   City of Rancho Mirage, County of Riverside, California (the “HOA”), and Federal
13   Insurance Company (“Federal”) is a New Jersey corporation, with its domicile and
14   principal place of business in Whitehouse Station, New Jersey.
15         2. This Court has personal jurisdiction over the defendants because they each
16   have a continuous, systematic, and substantial presence within this judicial district as
17   residents.
18         3. Venue is proper in this judicial district pursuant to 28. U.S.C. §1391(b)
19   and (c).
20         Introductory Statement
21         4. This action concerns the alleged insurability of awards directing the HOA to
22   repay monies it wrongfully took from its members. The California Supreme Court
23   has held that “[i]t is well established that one may not insure against the risk of being
24   ordered to return money or property that has been wrongfully acquired.” Bank of the
25   West v. Superior Court (Industrial Indemnity), 2 Cal. 4th 1254, 1266 (1992). “When
26   the law requires a wrongdoer to disgorge money or property acquired through a
27   violation of the law, to permit the wrongdoer to transfer the cost of disgorgement to an
28   insurer would eliminate the incentive for obeying the law. Otherwise, the wrongdoer
                                            1
                             COMPLAINT FOR DECLARATORY RELIEF
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 1   would retain the proceeds of his illegal acts, merely shifting his loss to an insurer.” Id.
 2   at 1269. This would be a violation of public policy. Id. at 1266-1270.
 3         5. In two nearly identical lawsuits brought by a host of residents of the
 4   Morningside Community Association in Rancho Mirage, the Riverside Superior Court
 5   has ruled that the HOA held a void election, imposed an invalid fee on its residents,
 6   and ordered the HOA to return the money, estimated at between $1 million and
 7   $2 million, plus pay attorney’s fees. The HOA has demanded reimbursement of that
 8   repayment from its primary liability directors and officers insurer, Federal, as well as
 9   its umbrella liability insurer, St. Paul. The restitution ordered by the Court is not,
10   however, insured under the HOA’s liability policies and such reimbursement would
11   also be against the public policy of California.
12         6. The law is clear on this point, but Federal, which has paid more than
13   $1 million defending the underlying actions so far, and apparently has tired of paying
14   to defend, is collaborating with the HOA to “dump and run.” In an arrangement
15   which is just taking shape, the HOA and Federal are working toward a “settlement” in
16   which (a) Federal will pay all or close to its $2 million policy limits toward the
17   restitution awards, interest, and related attorneys’ fees, (b) the HOA and Federal will
18   then claim that this payment exhausts the Federal policy limit and (c) the HOA (and
19   perhaps Federal) will then demand that St. Paul take over the defense and satisfaction
20   of the balance of the restitution awards.
21         7. St. Paul objects to this arrangement for a host of reasons, including that the
22   Federal policy does not cover the restitution awards and neither does the St. Paul
23   umbrella policy. St. Paul seeks declarations that: (a) the Federal policy does not cover
24   these restitution awards, (b) Federal cannot properly exhaust the limits of the Federal
25   policy by paying the restitution awards, (c) the HOA cannot demand anything under
26   the St. Paul umbrella policy absent proper exhaustion by Federal, (d) even if it could,
27   the St. Paul umbrella policy does not cover these restitution awards, (e) any payment
28   of these restitution awards by Federal or St. Paul would violate California public
                                           2
                            COMPLAINT FOR DECLARATORY RELIEF
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 1   policy.
 2         The Parties
 3         8. Plaintiff St. Paul is now, and at all relevant times was, a corporation existing
 4   under the laws of the State of Connecticut, with its principal place of business in
 5   Hartford, Connecticut. St. Paul is, and at all relevant times was, an insurance carrier
 6   eligible to do business and doing business as an insurer in the State of California.
 7         9. Defendant Federal is, and at all times material to this lawsuit was, a New
 8   Jersey corporation, with its principal place of business and main administrative office
 9   in Whitehouse Station, New Jersey. At all times material to this lawsuit, Federal was
10   authorized to conduct the business of a liability insurance company in the state of
11   California and was doing so.
12         10. Morningside Community Association is, and at all times material to this
13   lawsuit was, a California mutual benefit corporation, with its principal place of
14   business and domicile in the City of Rancho Mirage, County of Riverside, State of
15   California.
16         11. The Morningside Community is located in Rancho Mirage, California, with
17   363 homes situated on 165 acres of landscaped grounds. The HOA governs the
18   Morningside Community.
19         The Federal Insurance Policy
20         12. Effective July 1, 2014, to July 1, 2015, Federal insured the HOA with
21   policy no. 8227-6511, which provided primary level Directors and Officers insurance,
22   with a limit of $2,000,000 per claim (“the Federal Policy”). The Federal Policy
23   applied to certain claims which were made and reported to Federal during the policy
24   period, or within sixty days thereafter. St. Paul is informed and believes and, on that
25   basis alleges, that attached here as Exhibit 1 (and incorporated here by this reference)
26   is a true and correct copy of the Federal Policy.
27         The St. Paul Umbrella Policy
28         13. Also effective July 1, 2014, to July 1, 2015, St. Paul insured the HOA with
                                           3
                            COMPLAINT FOR DECLARATORY RELIEF
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 1   Specialty Commercial Umbrella Liability Policy ZUP-15P9975313-NF-31779 (the
 2   “St. Paul Umbrella Policy”), which provided, in pertinent part, excess level Directors
 3   and Officers insurance, with a limit of $15,000,000, per claim, in excess of the
 4   $2,000,000 per claim limits of the Federal Policy. The St. Paul Umbrella Policy
 5   applies only to certain claims which were made and reported to St. Paul during the
 6   policy period, or within sixty days thereafter. Attached here as Exhibit 2 (and
 7   incorporated here by this reference) is a true and correct copy of the St. Paul Umbrella
 8   Policy.
 9          The Asher Action
10          14. On November 17, 2015, the HOA was sued by twenty members of the
11   HOA in Hal Asher, et al. v. Morningside Community Association, et al., Riverside
12   Superior Court Case No. PSC 1505335 (the “Asher Action”). The plaintiffs filed an
13   amended complaint on July 28, 2016. A true and correct copy of the amended
14   complaint, excluding its exhibits, is attached here as Exhibit 3 (and incorporated here
15   by this reference).
16          15. In the Asher Action, the plaintiffs complained that the HOA board had
17   overreached in assessing each of the 363 households with a $250 per month fee for the
18   benefit of the unrelated golf club, The Club at Morningside (the “Club”). The Asher
19   Action remains pending, though the seventh cause of action has been litigated to
20   summary adjudication against the HOA. The seventh cause of action is titled
21   “Restitution and Other Equitable Relief, and Order Voiding Election results for
22   Violations of the Davis-Stirling Election Laws.” In this seventh cause of action, the
23   plaintiffs state:
24             “Plaintiffs request the Court void the election results and order the Association
25          to return to Plaintiffs, and all other similarly affected HOA members, all sums
26          paid to date in connection [with] the Proprietary Fee.”
27   (Exhibit 3, para. 161.) The plaintiffs in the Asher Action also sought an award of
28   attorney’s fees under the statute which they alleged that the HOA violated. (Exhibit 3,
                                              4
                               COMPLAINT FOR DECLARATORY RELIEF
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 1   para. 162.)
 2          The Asher Action Restitution Award
 3          16. On or about September 9, 2019, the court in the Asher Action granted
 4   summary adjudication for the plaintiffs and against the HOA on the seventh cause of
 5   action for “Restitution and Other Equitable Relief, and Order Voiding Election results
 6   for Violations of the Davis-Stirling Election Laws.” Attached here as Exhibit 7 (and
 7   incorporated here by this reference) is a true and correct copy of that order. The court
 8   found that the election was unfair, and the fee imposed unauthorized. The order
 9   states, in part:
10          “Based on the undisputed facts, there were clear election violations such that
11          the court in its discretion may void the election results.”
12   (Exhibit 7, p. 19 of 25.)
13          “The court exercises its discretion in this matter and finds that the election
14          was void, orders restitution to Plaintiffs, and grants reasonable attorney’s fees
15          and court costs (pursuant to future motion).”
16   (Exhibit 7, pp. 19-20 of 25 (emphasis added).)
17          “The court was unable to locate any cases that discussed [Civil Code] §5145 as
18          it related to the issue of restitution. However, a clear reading of the section
19          reflects that if the court finds an election violation[,] the court’s exercise of
20          discretion goes beyond simply determining whether the election is void or not
21          void. The provision states that the court may ‘void any results of the election.’
22          One of the ‘results of the election’ was the collection of the Proprietary Fees
23          from Plaintiffs. Accordingly, under the plain language of the statute and the
24          court’s holding in Wittenburg [v. Beachwalk Homeowners Assn., 217 Cal. App.
25          4th 654 (2013)] pertaining to the court’s discretion supports a determination that
26          the court may void the election, but not order restitution. However, for the
27          same reasons set forth above related to voiding the election, the court should
28          find that awarding restitution to Plaintiffs would be ‘consistent with substantial
                                            5
                             COMPLAINT FOR DECLARATORY RELIEF
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 1         justice’ under the facts of this case.”
 2   (Exhibit 7, pp. 21-22 of 25.)
 3         The Wright Action and its Restitution Award
 4         17. The HOA was also sued by Laurel Wright and Marvin Hersh, two other
 5   members of the HOA in Laurel Wright, et al. v. Morningside Community Association,
 6   et al., Riverside Superior Court Case No. PSC 150600 (the “Wright Action”). The
 7   plaintiffs filed an amended complaint on September 22, 2016. A true and correct copy
 8   of the operative amended complaint, excluding its exhibits, is attached here as
 9   Exhibit 8 (and incorporated here by this reference).
10         18. Like the seventh cause of action in the Asher Action, the tenth cause of
11   action in the Wright Action has been litigated to summary adjudication against the
12   HOA. The tenth cause of action in the Wright Action, similar to the seventh in the
13   Asher Action, is titled “Restitution and Other Equitable Relief, and Order Voiding
14   Election Results.” In this tenth cause of action, the plaintiffs state:
15          “Plaintiffs request the Court void the election results and order the Association
16         to return to Plaintiffs, and all other similarly affected HOA members, all sums
17         paid to date in connection [with] the Proprietary Fee.”
18   (Exhibit 8, para. 163.) The plaintiffs in the Wright Action also sought an award of
19   attorney’s fees under the statute which they alleged that the HOA violated. (Exhibit 8,
20   para. 164.)
21         19. On or about January 2, 2020, the court in the Wright Action granted
22   summary adjudication for the plaintiffs and against the HOA on the tenth cause of
23   action for “Restitution and Other Equitable Relief, and Order Voiding Election
24   Results.” Attached here as Exhibit 9 (and incorporated here by this reference) is a true
25   and correct copy of that order. The court stated that it was issuing “the same order for
26   the same previously litigated and argued reasons [as it did in the Asher Action] insofar
27   as the issues are the same.” (Exhibit 9, p. 3 of 13, first paragraph.) Just as it had in
28   the Asher Action, in the Wright Action, the court found that the election was unfair,
                                            6
                             COMPLAINT FOR DECLARATORY RELIEF
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 1   and the fee imposed unauthorized and it ordered restitution of all of the improperly
 2   collected fees, plus reasonable attorney’s fees and costs. (Exhibit 9, p. 10 of 13,
 3   bottom paragraph.)
 4         The Restitution Awards Are Not Covered Under the St. Paul Umbrella
 5         Policy
 6         20. St. Paul has informed the HOA that it is not entitled to defense or
 7   indemnity under the St. Paul Umbrella Policy for the claims presented in the Asher
 8   Action or the Wright Action. Attached here as Exhibit 10 (and incorporated here by
 9   this reference) is a detailed statement of St. Paul’s position regarding the lack of
10   coverage under the St. Paul Umbrella Policy.
11         Federal Repeatedly Acknowledges that the Restitution Awards Are Not
12         Covered by the Federal Policy
13         21. The court’s order for judgment on the seventh cause of action in the Asher
14   Action, titled “Restitution and Other Equitable Relief, and Order Voiding Election
15   results for Violations of the Davis-Stirling Election Laws,” is referred to here as the
16   “Asher Award.” The identical finding and order for judgment in the Wright Action is
17   referred to here as the “Wright Award.” Collectively the Asher Award and the Wright
18   Awards are referred to here as the “Restitution Awards.” St. Paul is informed and
19   believes that, inclusive of interest and attorney’s fees, satisfying the Restitution
20   Awards will cost the HOA more than $2 million.
21         22. Federal received a tender of the Asher Action and the Wright Action from
22   the HOA, agreed to defend the HOA but reserved the right to disclaim coverage for
23   the restitution awards sought by the plaintiffs. Attached here as Exhibits 4, 5, and 6
24   (and incorporated here by this reference) are true and correct copies of letters by
25   Federal to the HOA. In those letters, Federal states—correctly—that any restitution
26   award of the proprietary fee collected by the HOA could not be covered under the
27   Federal Policy. Federal observed that “the return of money improperly collected is
28   not insurable in California. ‘It is well established that one may not insure against the
                                           7
                            COMPLAINT FOR DECLARATORY RELIEF
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 1   risk of being ordered to return money or property that has been wrongfully acquired.’
 2   (Bank of the West v. Superior Court (1992) 2 Cal 4th 1254, 1266. [¶] Public policy
 3   does not permit a wrongdoer to retain the proceeds of its wrongful acts while
 4   shifting the cost of those acts to its insurer. [Citations omitted.]” (Exhibit 6, p. 4
 5   (emphasis added); Exhibit 5, p. 1 (same).) See also Exclusion A(4) of the Federal
 6   Policy, cited by Federal to the HOA in Exhibit 4, at p. 3: explaining that the Federal
 7   Policy states that Federal “shall not be liable for Loss on account of any Claim
 8   directly or indirectly based upon, arising from, or in consequence of . . . any Insured
 9   having gained in fact any profit, remuneration or advantage to which such Insured
10   was not legally entitled.” (See also, Exhibit 1 (Federal Policy), p. 23.)
11         Federal Changes Its Tune
12         23. Federal’s defense obligations to the HOA under the Federal Policy do not
13   reduce or otherwise affect its $2 million indemnity policy limit, i.e. Federal may owe
14   unlimited defense costs in addition to its policy limit. Federal’s defense obligation
15   terminates only “after [Federal’s] applicable Limit of Liability with respect to such
16   Claim has been exhausted by the payment of Loss.”
17         24. St. Paul is informed and believes and, on that basis alleges, that Federal has
18   spent more than $1 million defending the HOA in the Asher Action and Wright
19   Action and will spend substantial addition sums to defend the HOA in these matters
20   through trial and/or other resolution.
21         25. Although Federal has advised the HOA that the Restitution Awards are not
22   Loss and that “[i]f Federal were to reimburse the subject fees under the circumstances
23   here, Federal would be, in effect, helping to pay for the maintenance (and assisting in
24   the financial viability) of the Club, an obligation no one could reasonably contend the
25   [HOA’s] insurer owes” (See Exhibit 6, page 4), Federal has decided to pay its limits
26   toward the Restitution Awards, even though they are not covered.
27         26. St. Paul is informed and believes and, on that basis alleges, that Federal has
28   concluded that it would be more economical—solely from Federal’s perspective—to
                                           8
                            COMPLAINT FOR DECLARATORY RELIEF
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 1   simply pay its policy limits toward uncovered claims, provided doing so would
 2   terminate Federal’s defense obligations to the HOA with respect to the Asher and
 3   Wright Actions.
 4          27. St. Paul is informed and believes and, on that basis alleges, that the HOA
 5   is complicit in or supports Federal’s “dump and run” strategy, and will assert that
 6   Federal’s proposed payment of the Restitution Awards will exhaust the limits of the
 7   Federal Policy and terminate Federal’s defense obligation. This arrangement allows
 8   Federal to stop defending, and it offers to net the HOA some $2 million of insurance
 9   money from Federal that it is not entitled to.
10         28. While Federal may contend that its decision to make a voluntary payment
11   for uncovered claims is its own business, that is not so here. First, it is a violation of
12   California public policy. Moreover, St. Paul does not agree that Federal’s payment
13   toward the Restitution Awards impairs or exhausts the limits of the Federal Policy or
14   creates any obligation on the part of St. Paul to defend or indemnify the HOA with
15   respect to the Asher or Wright Actions.
16         29. There are real, substantial and justiciable issues in controversy between and
17   among the parties with respect to the effects of Federal’s proposed payment toward
18   the Restitution Awards on the obligations of the HOA and St. Paul under the St. Paul
19   Umbrella Policy.
20         30. St. Paul seeks the Court’s intervention to declare the rights and obligations
21   of the HOA, Federal and St. Paul with respect to the payment of the Restitution
22   Awards and the defense of the Asher and Wright Actions under the Federal Policy and
23   the St. Paul Umbrella Policy.
24

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                             COMPLAINT FOR DECLARATORY RELIEF
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 1                            FIRST CAUSE OF ACTION FOR
 2               DECLARATORY RELIEF: NO COVERAGE IS AVAILABLE
 3                   FOR THE RESTITUTION AWARDS UNDER THE
 4                      FEDERAL PRIMARY INSURANCE POLICY
 5                            (By St. Paul Against All Defendants)
 6         31. St. Paul incorporates the allegations of paragraphs 1 through 30 here as if
 7   restated.
 8         32. The Restitution Awards are not covered under the Federal Policy for a host
 9   of reasons, plainly reflected in the Federal Policy, most of which are summarized well
10   by Federal itself in its letters to the HOA, attached here as Exhibits 4, 5, and 6. The
11   reasons that the Restitution Awards are not covered under the Federal Policy include:
12                 a. “[T]he return of money improperly collected is not insurable in
13         California. ‘It is well established that one may not insure against the risk of
14         being ordered to return money or property that has been wrongfully acquired.’”
15         (Bank of the West v. Superior Court (1992) 2 Cal. 4th 1254, 1266.) (Exhibit 6,
16         p. 4; Exhibit 5, pp. 1-2.)
17                 b. Payment by Federal of the Restitution Awards would violate
18         California public policy. Bank of the West, supra, at 1266-1270.
19                 c. The Restitution Awards do not constitute “Loss” as defined by the
20         Federal Policy (Exhibit 4, p. 3).
21                 d. “If Federal were to reimburse the subject fees under the circumstances
22         here, Federal would be, in effect, helping to pay for the maintenance (and
23         assisting in the financial viability) of the Club, an obligation no one reasonably
24         could contend the Association’s insurer owes. ‘Insurance is a contract whereby
25         one undertakes to indemnify another against loss, damage, or liability arising
26         from a contingent or unknown event.’ (See Cal. Ins. Code, § 22.) The Federal
27         Policy cannot be converted into an agreement to maintain the Club. (Citations
28         omitted.)” (Exhibit 6, p. 4.)
                                          10
                            COMPLAINT FOR DECLARATORY RELIEF
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 1                e. The HOA’s spending the proprietary fees which are the subject of the
 2         Restitution Awards constitutes a violation of the cooperation clause of the
 3         Federal Policy, prejudicing Federal. (Exhibit 6, p. 5.)
 4                f. The HOA’s continuing to collect and dispose of improper fees after
 5         tender to Federal constituted a failure of its duty to mitigate, prejudicing
 6         Federal. (Exhibit 6, p. 5.)
 7                g. Some or all of the fees which became the subject of the Restitution
 8         Awards were not covered because they were not from wrongful acts committed
 9         during the Federal Policy period. (Exhibit 6, p. 5.)
10                h. Attorney’s fees, costs and interest qualify as a Loss covered by
11         Federal “only to the extent an insured becomes legally obligated to pay them on
12         account of a Claim for which coverage applies.” (Exhibit 6, p. 5.) Since the
13         Restitution Awards are not covered, attorney’s fees and interests added to it are
14         not covered either.
15                i. The Federal Policy excludes coverage for loss in consequence of
16         “[A](4) any Insured having gained in fact any profit, remuneration or
17         advantage to which such Insured was not legally entitled…” (Exhibit 1, p. 23;
18         Exhibit 4, p. 3.) The Restitution Awards are such a loss.
19         33. Federal was correct as to each and all of these assertions: the Restitution
20   Awards are not covered under the Federal Policy.
21         34. St. Paul is informed and believes and, on that basis alleges Federal has now
22   reversed course and decided to pay uncovered claims because it has concluded doing
23   so would be in its economic interest, assuming such payment would stop its ongoing
24   obligation to pay attorney’s fees. For its part, the HOA seeks payment from Federal
25   toward the Restitution Awards in order to get $2 million to which it is not entitled.
26         35. St. Paul is informed and believes and, on that basis alleges the HOA and
27   Federal will contend the proposed Federal payments will properly exhaust the limits
28   of the Federal Policy, and the HOA (and, perhaps, Federal) will contend St. Paul is
                                          11
                            COMPLAINT FOR DECLARATORY RELIEF
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 1   then obligated under the St. Paul Umbrella Policy to defend and indemnify the HOA
 2   with respect to the Restitution Awards and the Asher and Wright Actions.
 3         36. An actual, present, and justiciable controversy has arisen and now exists
 4   between and among St. Paul and Federal and the HOA concerning their respective
 5   rights, duties and obligations owing to the HOA under the Federal Policy.
 6         37. Declaratory relief is appropriate and necessary and the Court should
 7   exercise its jurisdiction over this matter and grant declaratory relief to St. Paul because
 8   St. Paul has no other plain, speedy, and/or adequate remedy at law.
 9                           SECOND CAUSE OF ACTION FOR
10            DECLARATORY RELIEF: NO COVERAGE IS AVAILABLE
11                  FOR THE RESTITUTION AWARDS UNDER THE
12                             ST. PAUL UMBRELLA POLICY
13                            (By St. Paul Against All Defendants)
14         38. St. Paul incorporates the allegations of paragraphs 1 through 30 and 32
15   through 37 here as if restated.
16         39. The Restitution Awards are not covered under the St. Paul Umbrella Policy
17   for a host of reasons, plainly reflected in the St. Paul Umbrella Policy (Exhibit 2),
18   most of which are summarized well by St. Paul in its letter to the attorney for the
19   HOA, attached here as Exhibit 10.
20         40. The St. Paul Umbrella Policy states:
21
           Directors And Officers Following Form Endorsement (SUM 376 (03/11)):
22

23        With respect to the coverage provided by this policy that applies in
          excess of the Scheduled Underlying Insurance listed directly below,
24        which provides coverage on a claims-made basis, this policy also
          provides coverage on a claims-made basis:
25
             Scheduled Underlying Insurance Description: DIRECTORS &
26           OFFICERS LIABILITY

27           [AS PER APPLICABLE EVIDENCE OF INSURANCE ON FILE WITH
             THE COMPANY]
28
             ***
                                          12
                            COMPLAINT FOR DECLARATORY RELIEF
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 1
             B. The following is added to section I. Coverage A., but only for this
 2             endorsement:
 3           We will also pay on behalf of the Insured all sums in excess of the
             Retained Limit that the Insured becomes legally obligated to pay as
 4           damages because of Directors and Officers Liability Loss because of a
             Claim or Suit that is first made or brought on or after the retroactive date,
 5           if the applicable Scheduled Underlying Insurance contains a
             retroactive date provision, and
 6
                  1. during the Policy Period; or
 7
                  2. within any Extended Reporting Period
 8               provided under this policy;
 9               but only if:
10               1. insurance for such Directors and Officers Liability Loss is provided
                 by any Scheduled Underlying Insurance or any Scheduled Retained
11               Limit and then for no broader coverage than the insurance provided by
                 that Scheduled Underlying Insurance; and
12
                 2. the Wrongful Act takes place anywhere in the world….
13
             If we are prevented by law or statute from paying such sums on behalf
14           of any Insured, then we will, where permitted by law or statute,
             indemnify that Insured for such sums in excess of the Retained Limit.
15           In any event, the amount we will pay for damages is limited as described
             in section III. Limits Of Insurance.
16
             There is no coverage under this policy for Directors and Officers Liability
17           Loss unless a Retained Limit applies.
18   (Exhibit 2, p. 69 of 76; Exhibit 10, pp. 9-10.)
19         41. St. Paul contends that the Restitution Awards are not covered under the
20   St. Paul Umbrella Policy for the following reasons (among others):
21                a. The Restitution Awards are not covered by the Federal Policy, which
22         is a threshold requirement for coverage under the St. Paul Umbrella Policy
23         (Exhibit 2, p. 70 of 76, section E);
24                b. The St. Paul Umbrella Policy pays only in excess of the payment of
25         covered claims under the Federal Policy (see quoted language above); since the
26         impending payment of the Restitution Awards by Federal is not payment of
27         claims covered by the Federal Policy, there can be no coverage under the
28         St. Paul Umbrella Policy; (Exhibit 10, p. 9, bottom—p. 10, and p. 17.)
                                          13
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 1                c. The St. Paul Umbrella Policy states that St. Paul will pay “sums in
 2         excess of the Retained Limit that the Insured becomes legally obligated to pay
 3         as damages because of Directors and Officers Liability Loss.” (Underlined
 4         bold italics added.) The Restitution Awards are for restitution, repayment of
 5         funds wrongfully collected, not for “damages.” “It is well established that one
 6         may not insure against the risk of being ordered to return money or property
 7         that has been wrongfully acquired. Such orders do not award ‘damages’ as that
 8         term is used in insurance policies.” Bank of the West v. Superior Court (1992)
 9         2 Cal. 4th 1254, 1266.
10                d. Payment by St. Paul of the Restitution Awards would violate
11         California public policy. Bank of the West, supra, at 1266-1270.
12                e. The St. Paul Umbrella Policy, by following the Federal Policy,
13         requires as a pre-requisite to coverage, that St. Paul receive notice of a claim
14         during the policy period or sixty days thereafter (see St. Paul Umbrella Policy,
15         Exhibit 2, p. 70 of 76, section E; see Federal Policy, Exhibit 1, at section
16         VII(A), p. 26); St. Paul’s policy was effective July 1, 2014, to July 1, 2015, and
17         St. Paul did not receive notice of the Asher Action or the Wright Action until on
18         or about December 19, 2019, more than four years later than required for the
19         HOA to be entitled to coverage. (Exhibit 10, p. 6, and 16-17.) The pre-
20         requisite to coverage is not met.
21         42. St. Paul is informed and believes and, on that basis alleges that the HOA
22   (and, perhaps, Federal) contend to the contrary.
23         43. An actual, present, and justiciable controversy has arisen and now exists
24   between and among St. Paul, the HOA and, perhaps, Federal, concerning the
25   respective rights, duties and obligations owing to the HOA under the St. Paul
26   Umbrella Policy.
27         44. Declaratory relief is appropriate and necessary and the Court should
28   exercise its jurisdiction over this matter and grant declaratory relief to St. Paul because
                                          14
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 1   St. Paul has no other plain, speedy, and/or adequate remedy at law.
 2                                           PRAYER
 3         Wherefore, St. Paul prays for an order and declaratory judgment against all
 4   defendants as follows:
 5         Under the First Cause Of Action
 6         1. For declarations that:
 7               a. the HOA is not covered under the Federal Policy for the Restitution
 8               Awards and Federal has no contractual obligation to pay them;
 9               b. any payment toward the Restitution Awards by Federal would violate
10               California public policy;
11               c. any payment of the Restitution Awards by Federal is a voluntary
12               payment and cannot properly impair or exhaust the policy limits of the
13               Federal Policy;
14         Under the Second Cause Of Action
15         2. For declarations that:
16               a. the HOA is not covered under the St. Paul Umbrella Policy for the
17               Restitution Awards; St. Paul is not obligated to pay any of them;
18               b. any payment toward the Restitution Awards by St. Paul would violate
19               California public policy;
20         All Causes of Action
21         3. For costs of suit;
22         4. For all other relief which the Court finds just and proper.
23   Dated: October 21, 2021
24                                           Respectfully submitted,
25
                                                /s/ Mark D. Peterson
26                                           MARK D. PETERSON
                                             Of CATES PETERSON LLP
27                                           Attorneys for Plaintiff
                                             ST. PAUL FIRE AND MARINE
28                                           INSURANCE COMPANY
                                            15
                              COMPLAINT FOR DECLARATORY RELIEF
